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IN THE UNITED STATES DISTRICT COURT
FOR THE SOUTHERN DlSTRICT OF IOWA

 

 

CENTRAL DIVISON
SUE WEATHERLY : Civil Action No.
Plaintiff,
vs.
PARAGON WAY, INC.,
Defendant.
CC)MPLAINT

Plaintiff Sue Weatherly, by her attorney Ray Johnson, for her claims against the

Defendant states:
l. INTRODUCTION

l. This is an action for damages brought by an individual consumer for Defendant’s
violations of the Fair Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter
“FDCPA”) and IoWa Unlawt`ul Debt Collection Practices Act, IoWa Code § 5 37.7103, et seq.
(herinafter, “State Act”), vvhich prohibits debt collectors from engaging in abusive, deceptive,
and unfair practices

H. JURSIDICTION AND VENUE

2. Jurisdiction of this Court arises under 15 U.S.C. § 1692li(d), 28 U.S.C. §
1337, and supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367.
Declaratory relief is available pursuant to 28 U.S.C. § § 220l and 2202. Venue in this District is

proper in that the Defendant transacts business here and the conduct complained of occurred

here .

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111. PARTIES
3. Plaintiff, Sue Weatherly, is a natural person now residing in Des l\/loines, lovva.
4. Defendant, Paragon Way, INC. (hereinafter “Paragon Way ”) is a law firm
engaged in the business of collecting debts in the state of lovva.
5. Defendant is a “debt collector” as defined by the FDCPA, 15 U.S.C. § 1692a(6).
IV. FACTUAL ALLEGATIONS
6. Paragon Way is attempting to collect an alleged debt from Sue Weatherly for the
amount of $5()2.12. This debt Was settled in litigation and is no longer owed
7. Paragon Way Was sent a letter demanding that all communications With l\/ls.
Weatherly cease immediately Since receiving the letter, Ms. Weatherly has been contacted on
several occasions both over the phone and in Writing.
V. FIRST CLAIM FOR RELIEF
9. All facts and allegations of this Complaint are incorporated herein by reference
10. Defendant violated the FDCPA. Defendant’s violations include, but are not
limited to, the following:
a. Paragon Way violated 15 U.S.C. § 1692(e)(2) by making a false
representation regarding the character, amount, or legal status of the debt.
b. Defendant violated 15 U.S.C. § 1692c(a)(2) by contacting the Plaintiff When it
Was knovvn, or should have been knoWn, that she Was being represented by an
attorney.
ll. As a result of the above violations of the FDCPA, the Defendant is liable to
the Plaintiff actual damages, statutory damages, and costs and attorney’s fees.

VI. SECOND CLAll\/[ OF RELIEF

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12. All facts and allegations of this Complaint are incorporated herein by reference

13. For purposes of l\/Is. Weatherly’s alleged obligation, Paragon Way Was collecting for
a “creditor” as defined in Iovva Code § 537.7102(2).

14. Ms. Weatherly’s alleged obligations Were “debts” as defined by lovva Code §
537.7102(3).

15. With regard to attempts to collect from l\/[s. Weatherly as alleged herein, Paragon
Way Was a “debt collector” engaged in “debt collection” as defined by lovva Code §§
537.7102(4) and (5).

16. Defendant violated the State Act. The foregoing acts, omissions and practices of
Paragon Way Were violations of lovva Code § 537.7103, including but not limited to:

a. Taking an action prohibited by IoWa Code Chapter 5 37 or other law in
violation of lovva Code § 537.7103(1)(®.

b. Making a representation Which tends to create a false impression of the
character, extent or amount of a debt in violation of lovva Code §
537.7103(4)(e).

c. Defendant violated lovva Code § 5 37.7103(5)(€) by contacting the plaintiff
When it Was knovvn, or should have been known, that she Was being
represented by an attorney.

17. As a proximate result of the unfair debt collection, l\/Is. Weatherly has suffered actual
damages and injury for Which he should be compensated in an amount to be proven at trial.

WHEREFORE, Plaintiff respectfully requests that judgment be entered against the

Defendant for the following:

A. Actual damages;

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B. Statutory damages pursuant to 15 U.S.C. § 16921<.
C. Statutory damages pursuant to lowa Code § 537.5201(1).

D. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692k and

lovva Code § 537.5201(8).
E. For such other relief as the Court deems appropriate in the circumstances

Respectfully submitted,

 

 

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